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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

    UNITED STATES OF AMERICA

           v.                                                      Criminal No. 2:11cr36

    SAMUEL LLOYD, et al.,

           Defendants.

                                Defendant Samuel Lloyd’s Position
                         with Respect to Objections and Sentencing Factors

    I. Position with Respect to Defendant’s Objections

           Defendant’s counsel has consulted with the Assistant United States Attorney and

    the Senior United States Probation Officer, and several objections have not been

    resolved.

           Defendant Samuel Lloyd objected to being attributed with 20 kilograms of

    cocaine in paragraph 20. Clive Black testified at trial that on the first trip to Atlanta

    Mario Woods purchased three kilograms and that on two subsequent trips Woods went

    the “same way.” (Trial Tr. at 265-66.) Woods testified that there were just two trips to

    Atlanta to see Defendant, not three, and Woods testified that he purchased ten and twenty

    kilograms of cocaine from Defendant during these two trips. (Trial Tr. at 433-436.)

    Defendant contends that he should be not be attributed with any drugs based on this

    inconsistent testimony.

           Defendant objected to paragraph 21 because Black did not testify that Defendant

    traveled to Virginia in 2005 to collect money from Woods. Black testified that Blacks (a

    man with a similar name) and another man did visit Black. (Trial Tr. at 266.)

    Defendant’s name is only used as part of a question in this exchange. Id. Since Black
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    did not clearly state that Defendant came to Virginia, these facts are not sufficiently

    established.

            Defendant objected to paragraph 24 as the attribution of twenty pounds of

    marijuana to Defendant. Black did not testify as to this incident. Lewis Scott did testify

    that Black brought about twenty pounds of marijuana to Scott’s garage, but the Defendant

    took it away. (Trial Tr. at 456.) Defendant contends that he should be not be attributed

    with any drugs based on this inconsistent testimony.

            Defendant objected to paragraph 27 as to the attribution of 400 kilograms of

    cocaine to Defendant. The United States has conceded that Black did not testify as to any

    specific quantity. Black did state, “I didn’t know for sure about no cocaine discussion”

    and “I don’t know what the cocaine discussion was.” (Trial Tr. at 271.) Further, there is

    no proof that Defendant had the means to complete this transaction. Defendant contends

    that none of this cocaine should be attributed to Defendant as there was no testimony as

    to any amount. The jury verdict form contained no amount for this same reason.

            Defendant objected to paragraph 28 as to the assertion that Defendant paid for

    Trenton Hawkins’ expenses for a trip to deliver drugs. Hawkins testified that Black gave

    him money for these expenses by using the pronoun “they” after specifically mentioning

    Black. (Trial Tr. at 944-45.). Further, Hawkins testified that Hawkins discussed these

    amounts with Defendant, but not that Defendant actually paid him. Id.

            Defendant objected to paragraph 30 as to the attribution of eight ounces of

    marijuana to Defendant. The United States has conceded that Bruce Heyward did not

    testify to this assertion at trial.

            Defendant objected to paragraph 37 as to the attribution of thirty pounds of



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    marijuana to Defendant. Defendant withdraws this objection.

           Defendant objected to paragraph 38 as to his involvement in the negotiations with

    Andre Todd. Defendant withdraws this objection.

           Defendant objected to paragraphs 39, 40 and 46 with regard to the assertion that

    he possessed a firearm. Of course, the jury found Defendant not guilty of possession of a

    firearm in the commission of a drug trafficking offense. The only person who placed a

    weapon in Defendant’s hand was Black. (Trial Tr. at 1031.) In finding the Defendant

    not guilty of the weapons charge, the jury rejected Black’s testimony, the only testimony

    putting a weapon in Defendant’s hands.

           Defendant objects to paragraphs 42 and 43 as to the attribution of 4000 pounds of

    marijuana and 1000 pounds of marijuana to him. The only evidence presented was that

    of conversations and there is no evidence that he was able to complete these transactions.

           Defendant objects to paragraphs 112, 113 and 115 contained in the “New

    Information” section of the Presentence Investigation Report. Defendant contends that

    there was no testimony at trial that he distributed the amounts of cocaine set forth in

    paragraphs 112 and 113. Further, Defendant objects to the summation of the drug

    quantity attributed to him in paragraph 115 based on the objections herein.

           Defendant has also objected to the offense level on Worksheet A of the

    Presentence Report based on all of the other objections relating to the attribution of drugs

    to him and enhancements.

    II. Position with Respect to the United States’ Objections

           The United States is seeking three separate enhancements as follows: a two level

    increase in the offense level for maintaining premises for the distribution of drugs



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    pursuant to U.S.S.G. § 2D1.1(b)(12), a two level increase for his aggravating role and

    because of the pattern of criminal conduct engaged in as a livelihood pursuant to

    U.S.S.G. § 4B1.3, and a two level increase for making a credible threat of violence

    pursuant to U.S.S.G. § 2D1.1(b)(2). Defendant has addressed the credible threats of

    violence above in addressing paragraphs 21, 39, 40 and 46.

           With regard to maintaining premises for the distribution of drugs, the United

    States Sentencing Guidelines commentary provides that the Court should consider

    “whether the defendant held a possessory interest (e.g., owned or rented) the premises”

    and “the extent to which the defendant controlled access to, or activities at, the premises.”

    U.S.S.G. § 2D1.1 Comment (n. 28). There is no evidence that Defendant either had a

    possessory interest in the house or that Defendant controlled the premises.

           With regard to the pattern of criminal conduct engaged in as a livelihood, the

    United States Sentencing Guidelines commentary provides that this section shall apply if

    Defendant derived more than 2000 times the minimum wage during a twelve month

    period and the criminal conduct was Defendant’s primary occupation during this period.

    U.S.S.G. § 4B1.3 comment. There is no evidence as to what benefit Defendant derived

    from the drug transactions.

    III. Position with Respect to Sentencing Factors

           In the case of Booker v. United States, 530 U.S. 466 (2000), the United States

    Supreme Court rendered the federal sentencing guidelines advisory and held that the

    sentencing guidelines must be considered with other factors pursuant to 18 U.S.C. §

    3553(a). Section 3553(a) provides that the Court impose a sentence that is sufficient, but

    not greater than necessary, to comply with the following purposes:



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           (A)     to reflect the seriousness of the offense, to promote respect for the
                   law, and to provide just punishment for the offense;
           (B)     to afford adequate deterrence to criminal conduct;
           (C)     to protect the public from further crimes of the defendant; and
           (D)     to provide the defendant with needed educational or vocational
                   training, medical care, or other correctional treatment in the most
                   effective manner.

    Further, 18 U.S.C. § 3582 provides that “imprisonment is not an appropriate means of

    promoting correction and rehabilitation.” “[S]entencing courts have discretion to

    sentence defendants within the statutory range, regardless of whether the sentence falls

    within the Guidelines range or without.” United States v. Raby, 575 F.3d 376, 380 (4th

    Cir. 2009). The sentencing guidelines are only “the starting point and initial

    benchmark”, and the sentencing court should then determine the appropriate sentence

    considering the four purposes of sentencing and the seven factors for achieving these

    purposes. Id. at 381.

           Since there are numerous unresolved objections, the sentencing guidelines will

    not be known until the Court has ruled on these objections. It does appear that the

    guidelines will be lengthy even if Defendant prevails on most of his objections.

    Defendant requests that the Court consider his age, his health and his lack of criminal

    history in his sentencing.

    IV. Conclusion

           WHEREFORE, Defendant requests that the Court uphold his objections to the

    Presentence Investigation Report.




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                                                 SAMUEL LLOYD


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                                        Certificate of Service

           I hereby certify that on the 23rd day of January 2012, I will electronically
    file the foregoing with the Clerk of Court using the CM/ECF system, which
    will then send a notification of such filing (NEF) to the following:

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